Case 3:23-cv-02224-E Document 1-11 Filed 10/06/23   Page 1 of 4 PageID 68




            EXHIBIT A-10
District Version 1.7.1.1                                                                                        httpszlltxnd-ecﬁsso.dcn/cgi-bin/DktRpt.pl?116810838304076-L_1_0-1
                             Case 3:23-cv-02224-E Document 1-11 Filed 10/06/23                                                    Page 2 of 4 PageID 69
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                                                                                      U.S. District Court
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                                        23 HAR 28.                   Ni 93 i5"jNorthern District of Texas (Dallas)
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                                                                                    DOCKET FOR CASE #: 3:23—cv-00311-L
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                    D Reynolds LP v. AGCS Marine Insurance Company                      Date Filed: 02/10/2023
                    Assigned to: Judge Sam A. Lindsay                                   Date Terminated: 03/23/2023
                    Case in. other court: 160th Judicial District Court, Dallas County, Jury Demand: Both
                                         TX, DC-22-17459                                Nature of Suit: 110 Contract: Insurance
                    Cause: 28: 133-1 Fed. Question                                      Jurisdiction: Diversity
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                    D Reynolds LP                                                                    represented by Robert W Loree
                         '
                                                                                                                        Loree & Lipscomb
                                                                                                                        777 E Sonterra Blvd
                                            CERT                M TR:                                                   Suite 320*
                                                                          M
                                                                              EE§%PY
                                                                                                                        San Antonio,,TX 78258
                                                                              $6):Ich                                   210-404-1320
                                                      my??? gig                                                         Fax: 210-404-1310
                                                                                b11517  L ERN                           Email: rob@lhllawf1rm.com
                                                      FEE
                                                                                                                        ATTORNEY TO BENOTICED
                                                            Wm                                                          Bar Status: Admitted/In Good Standing

                                                                                                                        Trevis R Loree
                                                                                                                        Loree & Lipscomb
                                                                                                                        777 E. Sonterra Blvd, Suite 320
                                                                                                                        San Antonio, TX 78258
                                                                                                                        210-404-1320
                                                                                                                        Fax: 210-404-1310
                                                                                                                        Email: trevis@lhllawfirm.com
        -   _..                                             -        —-   ~-        -            -
                                                                                                                        ATTORNEY'TO BE NOT/CED-
                                                                                                                        Bar Status: Not Admitted


                    V.
                    Defendant
                    AGCS Marine Insurance Company                                                        represented by Thomas E Sanders
                                                                                                                         Dykema Gossett PLLC
                                                                                                                         112 E Pecan St
                                                                                                                         Suite 1800
                                                                                                                         San Antonio, TX 78205
                                                                                                                         210-554-5500
                                                                                                                         Fax: 210-226-8395
                                                                                                                         Email: tsanders@dykema.com
                                                                                                                         LEAD ATTORNEY
                                                                                                                         ATTORNEY TO BE NOTICED


  1   of 3                                                                                                                                                    3/23/2023, 11:56 A1»
District Version 1.7.1.1                                                                     https://txnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?l 1681083 8304076-L_l_0-I
                           Case 3:23-cv-02224-E Document 1-11 Filed 10/06/23                                  Page 3 of 4 PageID 70

                                                                                                     Bar Status: Admitted/In Good Standing

                                                                                                     Ryan D Landry
                                                                                                     Dykema Gossett PLLC
                                                                                                     112 E Pecan Street
                                                                                                     Suite 1800
                                                                                                     San Antonio, TX 78205
                                                                                                     210-554-5239
                                                                                                     Fax: 866-449-6952
                                                                                                     Email: r1andry@dykema.com
                                                                                                     ATTORNEY T0 BE NOTICED
                                                                                                     Bar Status: Admitted/In Good Standing


        ._   23:9 FilgtL: 7.1                      __
                                                        _D_ocke'tText         .__—       -


                                                        NOTICE 0F REMOVAL WITH JURY DEMAND ﬁled by AGCS Marine Insurance
                                             I'—




             02/ 1 0/2023
                                                        Company. (Filing fee $402, receipt number ATXNDC- 13508766) In each Notice of
                                                        Electronic Filing, thejudge assignment is indicated, and a link to the    Mgﬂpx
                                                        Requirements and Judge Speciﬁc Requirements is provided. The court reminds the
                                                        ﬁler that any required copy of this and future documents must be delivered to the
                                                        judge, in the manner prescribed, within three business days of ﬁling. Unless exempted,
                                                         attorneys who are not admitted to practice in the Northern District of Texas must seek
                                                         admission promptly. Forms and Instructions found at www.txnd .uscourts. gov, or by
                                                         clicking here: Attorney Information - Bar Membership. If admission requirements are
                                                         not satisﬁed within 21 days, the clerk will notify the presiding judge. (Attachments: #
                                                        l  Exhibit(s) Index with Exhs 1—10, # 2 Cover Sheet JS 44, # g Cover Sheet
                                                         Supplement (Supp)) (Sanders, Thomas) (Entered: 02/10/2023)
                                                        CERTIFICATE 0F INTERESTED PERSONS/DISCLOSURE STATEMENT by
                                             IN




             02/.1 0/2023
                                                        AGCS Marine Insurance Company. (Clerk QC note: Afﬁliate entry indicated).
                                                        (Sanders, Thomas) Modiﬁed docket text on 2/10/2023 (oyh). (Entered: 02/ 10/2023)
                                                        New Case Notes: A ﬁling fee has been paid. Pursuant to Misc. Order 6, Plaintiff is
                                             lw




             02/10/2023
                                                         provided the Notice of Right to Consent to Proceed Before A U. S. Magistrate Judge
             _.—-q___..’    .—-_   __   -—

                                                        (Judge Rutherford) Clerk to provide copy to plaintiff if not received electronically.
                                                        (acm) (Entered: 02/ 10/2023)
                                                        ANSWER to Complaint with Jury Demand ﬁled by AGCS Marine Insurance
                                             1%




              02/17/2023
                                                        Company. Unless exempted, attorneys who are not admitted to practice in the
                                                        Northern District of Texas must seek admission promptly. Forms and Instructions
                                                        found vat www.txnd.uscourts.gov, or by clicking here: Attorney Information - Bar
                                                        Membership. If admission requirements are not satisﬁed within 21 days, the clerk will
                                                        notify the presiding judge. (Sanders, Thomas) (Entered: 02/ 17/2023)
                                                        Order and Notice of Deﬁciency: By 3/17/23, AGCS Marine Insurance Company must
                                             kn




              03/03/2023
                                                        ﬁle an amended or supplemental notice of removal that cures the jurisdictional
                                                        deﬁciencies identiﬁed by the court. Failure to do so will result in the sua sponte
                                                        remand of this action to state court for lack of jurisdiction. (Ordered by Judge Sam A.
                                                         Lindsay on 3/3/2023) (chmb) (Entered: 03/03/2023)
                                                         AMENDED DOCUMENT by AGCS Marine Insurance Company. Amendment to §_
                                             lax




              03/13/2023
                                                         Order And Notice of Deficiency,. Amended Notice ofRemoval. (Landry, Ryan)



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District Version 1.7.1.1                                               https://txnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?1 6810838304076-L__1_0-1
                    Case 3:23-cv-02224-E Document 1-11 Filed 10/06/23                         Page 4 of 4 PageID 71
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                ;                (Entered: 03/13/2023)
                                 ORDER: The court sua sponte remands this action for lack of subject matter




                            IQ
           03/23/2023
                                 jurisdiction to the 160th Judicial District Court, Dallas County, Texas, from which it
                                 was removed. (Ordered by Judge Sam A. Lindsay on 3/23/2023) (Attachments: #               l
                                  Remand Letter) (svc) (Entered: 03/23/2023)




                                 ._,   .—      _-    _             _    ._             ...“                .           . ...   .   ..-   -_   .-_




 3 of 3                                                                                                               3/23/2023, 11:56 AIV.
